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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   (CAMDEN VICINAGE)



Transatlantica Commodities Pte Ltd.,                Case No. 1:22-cv-3348

                    Plaintiff,                      IN ADMIRALTY

        -against-

Hanwin Shipping Limited,

                    Garnishee., in personam

and

The Master of the M/V INDIGO SPICA,

                    Garnishee.



   AGREED MOTION AND ORDER TO RELEASE ATTACHMENT OF PROPERTY
              AND TO STAY CASE PENDING ARBITRATION

       Satisfactory security having been arranged in the form of an escrow account held by

counsel for Hanwin Shipping Limited (“Hanwin”) subject to a Supplemental Escrow Agreement

dated June 10, 2022, Transatlantica Commodities Pte Ltd. (“Transatlantica”) moves for release

from attachment the bunkers (“Bunkers”) aboard the M/V INDIGO SPICA (Vessel).

       Transatlantica further moves that this case be stayed pending the outcome of charter party

arbitration between Transatlantica and Hanwin or until further order of this Court.

       WHEREFORE, Transatlantica respectfully requests this Court to grant this motion,

entering the order below.

Dated: June 10, 2022.
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                                     Respectfully Submitted,
MATTIONI, LTD
                                                    /s/ J. Stephen Simms
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                                     Transatlantica Counsel

Stipulated and Agreed to by Counsel for Hanwin:

PALMER BIEZUP & HENDERSON LLP

By: /s/ Daniel H. Wooster
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                                            ORDER


        Upon the foregoing agreed motion, this Court hereby GRANTS the motion, and

ORDERS that the Bunkers are released from attachment, and that this case hereby is stayed

pending the outcome of charter party arbitration between Transatlantica and Hanwin or

until further order of this Court.

        SO ORDERED on this ___ day of June, 2022.




                                            Sharon A. King
                                            United States Magistrate Judge
